                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

v.                                               Case No. 18-00293-01/12-CR-W-DGK

TREVOR SCOTT SPARKS (02),
GLORIA MAY JONES (04),
LESLIE LADON WALKER (06),
DAVID ROBERT RICHARDS, II (07),
STEPHANIE THURMOND (09),
LEEANNA MICHELLE SCHROEDER (10)

                                                                          AUSA: Bruce Rhoades
                                                       Defense Atty.:   Joseph Vanover for Sparks,
                                                                            Jane Francis for Jones,
                                                                            Lisa Nouri for Walker,
                                                                         Gerald Gray for Richards,
                                                                         John Jenab for Thurmond,
                                                                         Cynthia Dodge for Schroeder

JUDGE:                  Lajuana M. Counts           DATE/TIME:              12/21/2018
                        U. S. Magistrate Judge                              9:45am-11:35am
DEPUTY CLERK            Traci Chorny                TAPE/REPORTER           FTR/tc
INTERPRETER                                         PRETRIAL/PROB:          Tim Hair, Tara
                                                                            Westerhof

                                       Clerk's Minutes
                               DETENTION/ARRAIGNMENT

DETENTION HEARING:            Parties appear in person and with counsel ready to proceed on
government's motion for pretrial detention.

(x)    All parties stipulate to factual contents of Pretrial Services Report as being the direct
       testimony of the Pretrial Services Officer listed in the report.
       Ms. Francis advises corrections to page 3 of the report.
       Mr. Gray advises corrections to page 3 of the report.
       Mr. Jenab, makes corrections to the report by way of proffer.
       Ms. Dodge makes correction to the report by way of proffer.
(x)    Government presents evidence and calls witness Detective Cory Horalek, Kansas City,
       MO police department. Direct and cross examinations held.
(x)    Parties do not present further evidence.

Ms. Dodge orally motions the Court to continue her client’s portion of the detention hearing.
The Court will contact parties to reschedule the hearing for a time on Thursday, December 27,
2018. Defendant, Schroeder, returned to the custody to the US Marshals pending further hearing.
(x)    Arguments presented.


Based upon the information presented, the Court makes a finding

For defendant Trevor Scott Sparks, the Court grants government=s motion to detain and found
reason to believe that no condition or combination of conditions of release would reasonably
assure the appearance of the defendant or the safety of any other person or persons and the
community.

For defendant David Robert Richards III, the Court grants government=s motion to detain and
found reason to believe that no condition or combination of conditions of release would
reasonably assure the appearance of the defendant.

Defendants ordered detained without bail. Written Detention Orders to be forthcoming.
Defendants remanded to the custody of the U.S. Marshals.

For defendants Jones, Walker and Thurmond, Government's motion for pretrial detention is
denied as the Court made a finding that the defendant should be released from detention.

Each defendant released on a $10,000.00 cash or security bond, with a 10% cash deposit, with
court approved cosignors. Conditions of release reviewed. Defendants remanded to the custody
of the U.S. Marshals until conditions are met.

ARRAIGNMENT

(x)    Defendant, Sparks, charged in Counts 2-5 of a 5 Count indictment.
(x)    Defendants, Jones, Walker, Richards, Thurmond, and Schroeder charged in
       Counts 1,2 and 4 of a 5 Count indictment.
(x)    Defendants waive formal reading of the indictment.
(x)    Defendants were informed of the maximum punishment for each applicable count
       of the indictment.
(x)    Each Defendant entered a plea of not guilty to each count of the indictment applicable to
       him/her.

ORDERS

(x)    Defendants Sparks and Richards, ordered committed back to custody of U.S.
       Marshals. Defendants Jones, Walker and Thurmond remanded to the custody of
       the U.S. Marshals until conditions are met.

(x)    Case ordered set for trial on the joint criminal jury trial docket which commences
       February 11, 2019.

(x)    Scheduling Conference set for Monday, January 7, 2019 at 1:30pm before US
       Magistrate Judge John T. Maughmer in Courtroom 7E.
